Case 6:16-cv-02232-RBD-KRS Document 34 Filed 03/22/17 Page 1 of 5 PageID 257




                              UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

   JOHN DOE,

                            Plaintiff,

   v.                                                            Case No: 6:16-cv-2232-Orl-37KRS

   ROLLINS COLLEGE, JESSICA
   NARDUCCI, ORIANA JIMINEZ, KEN
   MILLER, REBECCA DECESARE and
   MEGHAN HARTE WEYANT,

                            Defendants.


                                                   ORDER
             This cause came on for consideration without oral argument on the following motion filed

   herein:

             MOTION:        MOTION TO PROCEED UNDER PSEUDONYM AND FOR
                            PROTECTIVE ORDER (Doc. No. 23)

             FILED:         January 24, 2017



             THEREON it is ORDERED that the motion is DENIED.

             In this case, Plaintiff alleges that while he was a student at Rollins College, he was falsely

   accused of engaging in “nonconsensual sexual activity with a fellow Rollins student (‘Jane

   Doe’. . .).” Doc. No. 19, at 1. He alleges that after this claim was asserted, Rollins College

   conducted an investigation pursuant to Title IX and the College’s own policies. Id. at 14. He

   contends that the investigation was flawed and deprived him of a fair and impartial investigation

   and hearing process. Id. at 14-15. He does not allege with any specificity the nature of the alleged

   sexual misconduct, other than that a notification was made regarding nonconsensual sexual conduct
Case 6:16-cv-02232-RBD-KRS Document 34 Filed 03/22/17 Page 2 of 5 PageID 258




   and “ʻFondling’” and that one of the Defendants accused him of rape. Id. at 19-20. He alleges

   that Rollins College imposed sanctions against him, which included suspension for two semesters

   noted on his transcript, community probation until his graduation, and sexual harassment and

   misconduct education. Id. at 23. He asserts a number of causes of action against Rollins College

   and individuals affiliated with Rollins College.

          In the present motion, Plaintiff asks to proceed under the pseudonym “John Doe.” He

   contends that publication of his true identity might adversely impact his future educational and

   employment prospects based on a “false claim of sexual misconduct[.]” Doc. No. 23, at 1-2.

          Federal Rule of Civil Procedure 10(a) creates a presumption that every pleading filed in this

   Court must name all parties. At its core, Rule 10(a) “protects the public’s legitimate interest in

   knowing all of the facts involved, including the identities of the parties.” Doe v. Frank, 951 F.2d

   320, 322 (11th Cir. 1992)(citations omitted). “The ultimate test for permitting a plaintiff to proceed

   anonymously is whether the plaintiff has a substantial privacy right which outweighs the ‘customary

   and constitutionally-embedded presumption of openness in judicial proceedings.’” Id. (quoting

   Doe v. Stegall, 653 F.2d 180,186 (5th Cir. Unit A 1981)). “It is the exceptional case in which a

   plaintiff may proceed under a fictitious name.” Id.

          The Eleventh Circuit has developed a multi-factor balancing test to determine whether a

   plaintiff has shown that he “ʻhas a substantial privacy right which outweighs the ‘customary and

   constitutionally-embedded presumption of openness in judicial proceedings.’”           Plaintiff B v.

   Francis, 631 F.3d 1310, 1315 (11th Cir. 2011)(quoting Frank, 951 F.2d at 323). The Court should

   consider (1) whether the plaintiff who seeks anonymity is challenging governmental activity; (2)

   whether the prosecution of the suit compels him to disclose information of the utmost intimacy; (3)

   whether plaintiff will be compelled to admit his intention to engage in illegal conduct, thus risking



                                                      -2-
Case 6:16-cv-02232-RBD-KRS Document 34 Filed 03/22/17 Page 3 of 5 PageID 259




   criminal prosecution; (4) whether the party is a minor; (5) whether the party will be exposed to

   physical violation should he or she proceed in the party’s own name; and (6) whether proceeding

   anonymously poses a unique threat of fundamental unfairness to the defendant. Fla. Action Comm.,

   Inc. v. Seminole Cty., No. 6:15-cv-1525-Orl-40GJK, 2016 WL 6080988, at *2 (M.D. Fla. Oct. 18,

   2016)(citing Plaintiff B, 631 F.3d at 1316). Courts may consider other factors as well, based on the

   particularities of the case. Id. Whether to allow a party to proceed anonymously is a matter within

   the discretion of the Court. Plaintiff B, 631 F.3d at 1315.

           In the motion, Plaintiff concedes that his suit is not challenging government activity and the

   case will not involve an admission concerning future criminal activity. Doc. No. 23, at 7. He does

   not allege that he is a minor, and he does not contend that he may be exposed to physical violence

   if his identity is revealed.

           As to the second factor, the Eleventh Circuit has noted that information of the utmost

   intimacy includes issues such as abortion, prayer and personal religious beliefs. However, courts

   have denied the protection of anonymity in cases of alleged sexual assault, even when revealing the

   plaintiff’s identity may cause some personal embarrassment. See Plaintiff B, 631 F.2d at 1316

   (collecting cases). In the present case, John Doe has not sufficiently alleged the type of sexual

   misconduct he was found to have committed or the extent to which the specifics of that alleged

   misconduct will be disclosed during this litigation and, therefore, there is insufficient information

   to determine that this case involves an issue of the utmost intimacy.

           John Doe argues that this case involves a social stigma that will arise from his identification

   as a sexual predator. See Doc. No. 19, at 28. The Eleventh Circuit has recognized that courts have

   allowed plaintiffs to proceed anonymously in cases involving disclosure of information that gives

   rise to a social stigma, such as mental illness, homosexuality and transsexuality. Frank, 951 F.2d



                                                    -3-
Case 6:16-cv-02232-RBD-KRS Document 34 Filed 03/22/17 Page 4 of 5 PageID 260




   at 324. In such cases, the information concerned long-standing or life-long conditions. This case

   does not present a similar risk of social stigma because the conduct of which John Doe was accused

   is alleged to have been a one-time occurrence, rather than repeated acts of alleged predatory

   conduct. 1 Any social stigma arising from the allegations in this case does not, therefore, implicate

   a substantial privacy right that overrides the presumption of openness in judicial proceedings.

           As to the sixth factor, Defendants have not shown that how the litigation would pose a unique

   threat of fundamental unfairness to them if John Doe’s identity is not revealed. They know who

   John Doe is and, as counsel for Plaintiff suggests, they can proceed through discovery by use of

   initials or other unique identifiers for John Doe and other students who may be identified. The

   Court can later address the issue of fundamental unfairness to the Defendants if John Doe’s identity

   is protected at trial (if it determines that the case will proceed to trial).

           Other circumstances in the case, however, weigh in favor of John Doe being required to

   proceed under his true name. The Court notes that John Doe has provided a good deal of identifying

   information about himself in his pleadings. He alleges that he attended White Plains Senior High

   School in White Plains, New York. He played both varsity ice hockey and varsity lacrosse,

   including playing for Superstars, a high school travel team. It was his goal to play lacrosse in

   college on a scholarship. He was accepted at Rollins College in the Class of 2019 on an academic

   scholarship. He was a member of the lacrosse team at the College. Doc. No. 19, at 8, 19. This

   information is sufficiently detailed to permit him to be identified via internet search by a simple

   match of lacrosse and hockey players at White Plains Senior High School and lacrosse players at




           1
               Counsel for Plaintiff relies on Doe v. Colgate University, No. 5:15-cv-1069 (LEK/DEP), 2016 WL 1448829
   (N.D.N.Y. April 12, 2016), in which the court allowed a student accused of sexual misconduct to proceed anonymously.
   I note that, in that case, the plaintiff was charged with three separate instances of sexual misconduct.


                                                          -4-
Case 6:16-cv-02232-RBD-KRS Document 34 Filed 03/22/17 Page 5 of 5 PageID 261




   Rollins College in the Class of 2019. Additionally, it appears that John Doe’s name has been a

   matter of public record in this case since January 2017 (Doc. No. 20), and, as of the writing of this

   order, he has taken no steps to have that information removed from the record.

             The individual Defendants also validly argue that by naming them as defendants, the mere

   filing of this civil action may cause damage to their good names and reputation. In Southern

   Methodist University Ass’n of Women Law Students v. Wynne & Jaffe, 599 F.2d 707, 713 (5th Cir.

   1979), the court found that the mere filing of a sex discrimination civil action against two law firms

   “may cause damage to their good names and reputation and may also result in economic harm.”

   Therefore, the court concluded that “[b]asic fairness dictates that those among the defendants’

   accusers who wish to participate in this suit as individual party plaintiffs must do so under their real

   names.” Id.

             On balance, the Court finds that this is not an exceptional case in which plaintiff may proceed

   under a fictitious name. If John Doe wishes to proceed with this lawsuit, he shall henceforth

   proceed under his own name rather than a pseudonym. Accordingly, it is ORDERED that, on or

   before April 7, 2017, Plaintiff shall file an amended certificate of interested persons listing his true

   name. 2

             DONE and ORDERED in Orlando, Florida on March 22, 2017.

                                                                     Karla R. Spaulding
                                                                     KARLA R. SPAULDING
                                                               UNITED STATES MAGISTRATE JUDGE




             2
               The Court finds that further delay of the case by requiring Plaintiff to file a second amended complaint under
   his true name is not warranted.


                                                             -5-
